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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                 Chapter 11

JPA NO. 111 CO., LTD. and                              Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                       (Jointly Administered)
                                   1
                        Debtors.


       CORRECTED ORDER (A) APPROVING BIDDING PROCEDURES RELATING TO
              THE SALE OF SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS;
            (B) ESTABLISHING STALKING HORSE BIDDERS AND APPROVING
     BID PROTECTIONS; (C) APPROVING PROCEDURES OF THE ASSUMPTION AND
     ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES;
           (D) AUTHORIZING ENFORCEMENT ACTIONS; (E) SCHEDULING AN
               AUCTION AND A SALE HEARING; AND (F) APPROVING THE
                      FORM AND MANNER OF NOTICE THEREOF

                Upon the motion (the “Motion”)2 of JPA No. 111 Co., Ltd. and JPA No. 49

Co., Ltd, as debtors and debtors in possession (the “Debtors”) in the above-captioned

cases (the “Chapter 11 Cases”), for entry of an order (this “Bidding Procedures Order”),

(a) approving the bidding procedures attached hereto as Exhibit 1 (the “Bidding

Procedures”) in connection with the Sale of the Debtors’ interest in the Purchased

Assets; (b) establishing the Potential Purchasers as the initial bidder (the “Stalking Horse

Bidder”) and authorizing the Debtors to pay the Break-Up Fee and Expense


1
    The Debtors in these Chapter 11 Cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The
    Debtors’ corporate address is: Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki,
    Chiyoda-Ku, Tokyo 100-0013.

2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in
    the Motion or the Bidding Procedures (as defined below), as applicable.
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Reimbursement (the “Bid Protections”) set forth and pursuant to the terms of the asset

purchase agreement based upon the terms of the Stalking Horse Term Sheet, attached

to the Motion as Exhibit B (such asset purchase agreement, the “Stalking Horse Purchase

Agreement”); (c) approving procedures for the assumption and assignment of certain

executory contracts and unexpired leases (the “Assumption and Assignment

Procedures”); (d) authorizing Enforcement Actions; (e) scheduling an auction for the

Purchased Assets (the “Auction”) and the hearing with respect to the Sale (the “Sale

Hearing”); and (f) approving the form and manner of notice of the Auction and Sale

Hearing, substantially in the form attached hereto as Exhibit 2 (the “Sale Notice”); and it

appearing that this Court has jurisdiction to consider the Motion pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order; and it appearing that venue of

these Chapter 11 Cases and the Motion in this district is proper pursuant to 28 U.S.C. §§

1408 and 1409; and it appearing that this matter is a core proceeding pursuant to 28

U.S.C. § 157(b); and the Court having considered the evidence presented and

statements of counsel at a hearing on January 26, 2022 and the statements of counsel at

the continued hearing on February 4, 2022 (“the "Hearing”); and this Court having

determined for reasons stated on the record (including but not limited to the Court's

crediting counsel's representations during the February 4 hearing that (i) if the Breakup

Fee and Expense Reimbursement are triggered in the absence of a sale or other

financing sufficient to cover all allowed secured claims, all such allowed secured claims



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will be satisfied in full before any amounts may be paid to towards the Breakup Fee

and/or Expense Reimbursement, and (ii) the economic risk of any insufficiency of

distributable funds resulting from the estates’ incurring any break-up fee that is not

covered by sale proceeds will be borne entirely by Debtors’ parent entity, JP Lease,

which is both the estates' sole or virtually sole holder of a liquidated general unsecured

claim, and the 100% owner of Debtors, and which supports the Motion) that the relief

requested in the Motion with respect to the entry of this Bidding Procedures Order is in

the best interests of the Debtors, their estates, their creditors and other parties in

interest; and it appearing that proper and adequate notice of the Motion has been

given and that, except as otherwise ordered herein, no other or further notice is

necessary; and after due deliberation thereon; and good and sufficient cause appearing

therefor: [DSJ 2/7/2022]

                IT IS HEREBY FOUND AND DETERMINED THAT:3

        A.      This Court has jurisdiction to hear and determine the Motion and to grant

the relief requested herein with respect to the Bidding Procedures and Auction pursuant

to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.



3
    The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of
    law pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy
    Rule 9014. To the extent that any of the following findings of fact constitute conclusions of law, they
    are adopted as such. To the extent any of the following conclusions of law constitute findings of fact,
    they are adopted as such.


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       B.      The Debtors’ proposed notice of the Auction, the Sale and the other

matters to be considered at the Sale Hearing pursuant to the Sale Notice is appropriate

and reasonably calculated to provide all interested parties with timely and proper notice

of the Bidding Procedures, Auction, Sale Hearing, and Sale. No other and further notice

beyond that described in the foregoing sentence shall be required.

       C.      The Bidding Procedures are fair, reasonable, appropriate and are designed

to maximize the value of the Purchased Assets and recoveries to the Debtors’ estates

and creditors.

       D.      The Debtors have demonstrated compelling and sound business

justifications for (i) entering into the Stalking Horse Purchase Agreement and incurring

the obligations arising thereunder or in connection therewith, including the provisions

related to the payment of the Break-Up Fee and Expense Reimbursement under the

circumstances, timing, and procedures set forth therein, and (ii) the Assumption and

Assignment Procedures.

       E.      The Sale Notice is appropriate and reasonably calculated to provide all

interested parties with timely and proper notice of the Bidding Procedures, the Auction,

the Sale Hearing, and the Sale free and clear of any liens, claims, encumbrances, or

interests pursuant to section 363(f) of the Bankruptcy Code) (with such liens, claims,

encumbrances, or interests attaching to the proceeds of any such sale, which shall be

first applied to satisfy the Secured Obligations in cash in full), and any and all objection



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deadlines related thereto, and no other or further notice shall be required for the

Motion.

       F.      The Assumption and Assignment Procedures are reasonable and

appropriate.

               IT IS HEREBY ORDERED THAT:

               1.       The Motion is GRANTED to the extent set forth herein.

               2.       The Bidding Procedures attached hereto as Exhibit 1 are hereby

approved in all respects.

               3.       The Bid Protections as set forth in the Stalking Horse Purchase

Agreement, and the provisions of the Stalking Horse Purchase Agreement relating

thereto, are hereby approved. The Debtors shall pay the Break-Up Fee and the Expense

Reimbursement (each of which is accorded administrative expense status under sections

503(b)(1)(A) and 507 of the Bankruptcy Code) to the Stalking Horse Bidders to the

extent due and payable under the Stalking Horse Purchase Agreement in accordance

with the terms thereof.

               4.       All of the Debtors’ obligations arising under or in connection with

the Stalking Horse Purchase Agreement with respect to the Break-Up Fee and the

Expense Reimbursement shall (a) survive termination of the Stalking Horse Purchase

Agreement and dismissal or conversion of either or both of these Chapter 11 Cases and

shall be binding on any chapter 7 trustee; and (b) be payable under the terms and



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conditions of the Stalking Horse Purchase Agreement and this Bidding Procedures

Order without any further order of this Court.

               5.       The Sale Notice is approved. As soon as reasonably practicable, but

in no event later than the third (3rd) Business Day after entry of this Bidding Procedures

Order, the Debtors (or their agent) shall serve the Sale Notice by first-class mail postage

prepaid and e-mail (where available) upon: (a) the Office of the United States Trustee

for the Southern District of New York, Region 2 (the “U.S. Trustee”), (b) counsel to any

statutory committee appointed in these Chapter 11 Cases, (c) the Debtors’ creditors as

of the Petition Date, (d) all entities reasonably known to have expressed an interest in

the acquisition, directly or indirectly, of the Purchased Assets, (e) the Internal Revenue

Service, United States Securities and Exchange Commission, and any other

governmental authorities that (i) as a result of the Sale, may have claims, contingent or

otherwise, in connection with the Debtors’ ownership of the Purchased Assets, or

(ii) may have a claim against the Debtors or other reasonably known interest in the relief

requested by the Motion relating to the Sale, (f) counsel to the Security Agent and each

of the Senior Lenders and Junior Lenders, (g) counsel to JP Lease Products & Services

Co. Ltd. , (h) counsel to the Intermediate Lessors,; (i) counsel to Vietnam Airlines,;

(j) each party to the Stalking Horse Purchase Agreement,; (k) all persons and entities

known by the Debtors to have asserted any lien, claim, interest or encumbrance in the




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Purchased Assets,; and (l) all other parties who have requested notice pursuant to

Bankruptcy Rule 2002 as of the date hereof. [DSJ 2/7/2022]

               6.       The Assumption and Assignment Procedures are approved.

               7.       The Debtors are authorized to take the necessary steps under

applicable law to effectuate the Enforcement Actions.

               8.       The Enforcement Notices are approved and shall be served on the

Enforcement Notice Parties consistent with applicable law.

               9.       By no later than February 9, 2022 at 11:59 p.m. (prevailing Eastern

Time), the Debtors shall file with this Court and serve on each party to an Assigned

Contract a Cure Notice substantially in the form attached as Exhibit D to the Motion that

shall (a) state the cure amounts that the Debtors believe are necessary to assume such

Assigned Contracts pursuant to section 365 of the Bankruptcy Code (the “Cure

Amount”); (b) notify the non-debtor party that such party’s contract or lease may be

assumed and assigned to the purchaser of the Purchased Assets upon the entry of the

Sale Order; (c) state the date of the Sale Hearing and that objections to any Cure

Amount or to assumption and assignment will be heard at the Sale Hearing, or at a later

hearing, as determined by the Debtors; and (d) state a deadline by which the non-

Debtor party shall file an objection to the Cure Amount or to the assumption and

assignment of the Assigned Contracts; provided, however, that the inclusion of a

contract, lease or agreement on the Cure Notice shall not constitute an admission that



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such contract, lease or agreement is an executory contract or lease. The Debtors reserve

all of their rights, claims and causes of action with respect to the contracts, leases, and

agreements listed on the Cure Notice.

               10.    Any objection to the Cure Amount or to assumption and

assignment must be filed with the Court by 2:00 p.m. (ET) on March 2, 2022 (the “Cure

Objection Deadline”), and served on: (i) the U.S. Trustee, (ii) counsel for the Debtors,

Kyle J. Ortiz, Esq. (kortiz@teamtogut.com) and Eitan E. Blander, Esq.

(eblander@teamtogut.com), and (iii) counsel to the Stalking Horse Bidders, Scott

Greissman, Esq. (sgreissman@whitecase.com), Richard A. Graham, Esq.

(rgraham@whitecase.com), and Andrea Amulic, Esq. (andrea.amulic@whitecase.com) so

as to be actually received on or before the Cure Objection Deadline. Any such objection

must (i) be in writing; (ii) state the basis for such objection; and (iii) state with specificity

what cure amount the party to the Assigned Contract believes is required (in all cases

with appropriate documentation in support thereof).

               11.    Unless a non-debtor party to any executory contract or unexpired

lease, including an unexpired real property lease, files an objection to the Cure Amount

or the assumption and assignment of such executory contract or unexpired lease by the

Cure Objection Deadline, such counterparty shall be (a) forever barred and estopped

from objecting to the Cure Amount, (b) forever barred and estopped from asserting or

claiming any Cure Amount, other than the Cure Amount listed on the Cure Notice



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against the Debtors, any Successful Bidder or any other assignee of the relevant

contract, and (c) deemed to have consented to the assumption and assignment of such

Assigned Contract.

               12.    At the Sale Hearing, the Debtors shall (i) present evidence necessary

to demonstrate adequate assurance of future performance by the Successful Bidder or

the Stalking Horse Bidder, as applicable; and (ii) request entry of an order granting

approval of the assumption and assignment of any Assigned Contracts to the Successful

Bidder or the Stalking Horse Bidders, as applicable.

               13.    The Debtors shall file a notice with the Court listing the Assigned

Contracts, if any, that the Debtors have determined not to assume, prior to the Sale

Hearing.

               14.    The Auction is scheduled for 10:00 a.m. (ET) on March 8, 2022 to be

conducted virtually through a Zoom link that will be made available to Qualified Bidders

or at another place and time designated by the Debtors in a prior written notice emailed

to all Qualified Bidders.

               15.    The deadline for objecting, for any reason, to approval of the Sale

shall be noon (ET) on March 10, 2022 (the “Sale Objection Deadline”). All objections to

the Sale must be: (a) in writing; (b) state with specificity the basis of the objection,;

(c) signed by counsel or attested to by the objecting party; (d) in conformity with the

Bankruptcy Rules, the Local Bankruptcy Rules and the case management procedures



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entered by the Court in these Chapter 11 Cases; (e) filed with the Court; and (f) served

on (i) the U.S. Trustee, (ii) counsel for the Debtors, Kyle J. Ortiz, Esq.

(kortiz@teamtogut.com) and Eitan E. Blander, Esq. (eblander@teamtogut.com), and

(iii) counsel to the Stalking Horse Bidders, Scott Greissman, Esq.

(sgreissman@whitecase.com), Richard A. Graham, Esq. (rgraham@whitecase.com), and

Andrea Amulic, Esq. (andrea.amulic@whitecase.com) so as to be actually received on or

before the Sale Objection Deadline. [DSJ 2/7/2022]

               16.    Failure to object to the relief requested in the Motion with respect

to the Sale by the Sale Objection Deadline shall be deemed a waiver of the right to

object to the Sale. The Sale Hearing shall be held via Zoom for Government at

11:00 a.m. (ET) on March 14, 2022. Those wishing to appear before the Court at the Sale

Hearing must register their appearance using the Electronic Appearance portal located

at the Court's website: https://ecf.nysb.uscourts.gov/cgi-bin/nysbAppearances.pl.

Appearances must be entered no later than 4:00 p.m. (ET) on March 11, 2022.

               17.    The Sale Hearing may be adjourned or rescheduled without further

notice by an announcement at the Sale Hearing or by the filing of a notice or agenda on

the docket of the procedurally consolidated Chapter 11 Cases.

               18.    Notwithstanding the possible applicability of Bankruptcy Rules

6004(h), 6006(d), 7062, or 9014 or any applicable provisions of the Bankruptcy Rules or

the Local Rules or otherwise stating the contrary, the terms of and conditions of this



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Bidding Procedures Order shall be immediately effective and enforceable upon its entry,

and any applicable stay of the effectiveness and enforceability of this Bidding

Procedures Order is hereby waived.

               19.   Prior to mailing the Sale Notice, the Debtors may fill in any missing

dates and other information, conform the provisions thereof to the provisions of this

Bidding Procedures Order, and make such other, non-material changes as the Debtors

deem necessary or appropriate.

               20.   The Debtors are authorized and empowered to take all actions

necessary to effectuate the relief granted in this Bidding Procedures Order.

               21.   For the avoidance of doubts, notwithstanding any language

included in this order, no substantive rights of any parties are deemed to have been

determined by this Order, including but not limited to, whether the Debtors have the

ability to sell the Lease Assets or the amount or categories of obligations that will be

included in the Secured Obligations.

               22.   This Court retains jurisdiction with respect to all matters arising

from or related to the implementation of this Bidding Procedures Order.


 Dated: New York, New York
       February 7, 2022
                                                  s/ David S. Jones
                                            HONORABLE DAVID S. JONES
                                            UNITED STATES BANKRUPTCY JUDGE




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                          EXHIBIT 1 TO BIDDING PROCEDURES ORDER


                                      BIDDING PROCEDURES1


I.      OVERVIEW

       On December 17, 2021, JPA No. 111 Co., Ltd. (the “ MSN 067 Seller”) and JPA No.
49 Co., Ltd. (the “MSN 173 Seller”), as debtors and debtors in possession (collectively, the
“Debtors” and each a “Debtor”), filed voluntary petitions for relief under title 11 of the
United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
Southern District of New York (the “Bankruptcy Court”). The chapter 11 cases have been
consolidated for procedural purposes under the lead case, JPA No. 111 Co., Ltd., et al.,
Case No 21-12075 (DSJ) (the “Chapter 11 Cases”).

       By motion (the “Motion”), dated December 31, 2021, the Debtors are seeking the
approval of the process and procedures for the sale of assets and rights, title, claims, and
proceeds with regard to two Airbus A350-941 aircraft bearing MSNs 067 and 173 and
related property, including (without limitation) leasehold assets. A purchase agreement
(including all exhibits, schedules and ancillary agreements related thereto, the “ Stalking
Horse Purchase Agreement”), a copy of which will be filed in advance of the Objection
Deadline, subject to the Bidding Procedures described below (the “ Bidding Procedures”),
among the Debtors and the following buyers (collectively, the “ Stalking Horse Bidders”):
(a) Capitol Reef LLC (the “MSN 067 Buyer”), who is buying the Purchased Assets to the
extent being sold by MSN 067 Seller), and (b) Isle Royale LLC (the “MSN 173 Buyer”), who
is buying the Purchased Assets to the extent being sold by the MSN 173 Seller. The
Stalking Horse Purchase Agreement contemplates a transaction for the sale of the
Purchased Assets to the Stalking Horse Bidders (the “ Sale Transactions”) for the Base
Purchase Price. The Sale Transactions are subject to (a) higher and better offers at an
auction, sale and marketing processes held under Section 363 of the Bankruptcy Code
described in these Bidding Procedures (the “Auction”) and (b) approval of the Bankruptcy
Court at the Sale Hearing (as defined below).


1
     Capitalized terms not otherwise defined herein have the meanings given to them in the Stalking
     Horse Purchase Agreement, the Bidding Procedures Order or the Motion, as applicable. This
     reference is for convenience, and not an approval of the Stalking Horse Purchase Agreement or a
     determination that the transaction proposed by the Stalking Horse Purchase Agreement is approved
     or that the Purchased Assets can be sold by the Debtors or that the Base Purchase Price is sufficient
     to satisfy the Secured Obligations under the Proceeds Agreements.
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        The Bankruptcy Court has entered an order approving these Bidding Procedures
(the “Bidding Procedures Order”). Among other things, the Bidding Procedures Order
authorized the Debtors to pursue the Sale Transactions (unless different Successful Bid is
identified through the Auction held in accordance with these Bidding Procedures) and
scheduled a hearing to consider approval of the Sale Transactions (the “ Sale Hearing”).
The Stalking Horse Bidders are the purchasers for substantially all of each Debtors’ assets
(other than “Excluded Assets” (as defined in the Stalking Horse Purchase Agreement)) and
executed the binding Stalking Horse Purchase Agreement for the Sale Transactions. The
Stalking Horse Purchase Agreement contemplates, pursuant to the terms and subject to
the conditions contained therein, the sale of substantially all of the Debtors’ assets (as
described in more detail below) to the Stalking Horse Bidders in consideration of the Base
Purchase Price (as defined in the Stalking Horse Purchase Agreement). The Sale Hearing
is scheduled for March 14, 2022 at 11:00 a.m. (ET).

        These Bidding Procedures are calculated to obtain the highest and otherwise best
offer for the Purchased Assets. These Bidding Procedures describe, among other things:
(i) the procedures for bidders to submit bids for the Purchased Assets; (ii) the manner in
which bidders and bids become Qualified Bidders and Qualified Bids; (iii) the process for
evaluating bids (including credit bids) received; (iv) the conduct of the Auction if the
Debtors receive Qualified Bids; (v) the procedure for secured parties to be able to
potentially submit credit bids in accordance with Section 363(k) of the Bankruptcy Code
and related matters; (vi), the procedure for the ultimate selection of a Successful Bidder
at the Auction; and (vii) the process for approval of the sale transactions at the Sale
Hearing. Any person or entity who wishes to make a bid to purchase the Purchased Assets
must be a Qualified Bidder. Neither the Debtors nor any of their representatives will be
obligated to furnish any information of any kind whatsoever relating to the Purchased
Assets to any person or entity who is not a Potential Bidder and who does not comply
with the requirements set forth herein. The Stalking Horse Bidders’ bid is subject to higher
or better offers submitted at an Auction held in accordance with the terms and conditions
of these Bidding Procedures.

II.     SUMMARY OF IMPORTANT DATES


                        Key Event                                     Deadline
      Deadline for Bidders Who Are Secured
                                                          February 10, 2022 at 4:00 p.m.
      Creditors to Complete Request to Utilize
                                                          (ET)
      Credit Bids at the Auction




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   Deadline for Any Objections to Credit Bidding
   under Bankruptcy Code Section 363(k) (the        February 17, 2022 at 4 p.m. (ET)
   “Credit Bidding Objection Deadline”)
   Deadline to Submit any Objections to Sale
   Based upon the Terms of the Stalking Horse
   Purchase Agreement (as modified by Debtors'
   Statement Responding to this Court's
                                                    February 17, 2022 at 4 p.m. (ET)
   Inquiries Regarding the Debtors' Motion to
   Approve Bidding Procedures, dated January
   28, 2022 [Docket No. 90] (the "Debtors'
   Statement")) and the General Sale Terms
   Deadline for any Responses in Support of
   Credit Bidding (the “Credit Bidding Response     February 23, 2022 at 4 p.m. (ET)
   Deadline”)
   Deadline to Submit any Replies to the
   Objections to Sale Based upon the Terms of
   the Stalking Horse Purchase Agreement (as        February 23, 2022 at 4 p.m. (ET)
   modified by Debtors' Statement) and the
   General Sale Terms
   Deadline for any Replies in Further Support of
   Objections to Credit Bidding (the “Credit        March 1, 2022 at 4 p.m. (ET)
   Bidding Reply Deadline”)
                                                    [**Subject to Court
   Court Hearing Date for Any Credit Bidding
                                                    Availability**][March 4, 2022 at
   Disputes
                                                    __:__ __.m.]
                                                    March 7, 2022 at 12 noon (ET)
                                                    (assumes entry of Bidding
   Deadline to Submit Bids (the Bid Deadline)
                                                    Procedures Order by February
                                                    5th)
   Deadline for Debtors to Notify Bidders of
   Status as Qualified Bidders (the Qualified Bid   March 7, 2022 at 6 p.m. (ET)
   Deadline)
   If No Auction Is to Be Held, Deadline for
   Debtors to Notice that Stalking Horse Bid (as    March 7, 2022 at 6 p.m. (ET)
   defined herein) Is Successful Bid




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    Auction to be held if the Debtors receive
    Qualified Bids, to be conducted via Zoom               March 8, 2022 at 10 a.m. (ET)
    Telephone Conference
    Deadline to File Notice of (i) Identities of
    Successful Bid and Back-Up Bid and (ii) for
                                                           March 8, 2022 at 10:00 p.m. (ET)
    seeking authority to sell the Purchased Assets
    to such Successful Bidder
    Deadline to Object to Successful Bid
    (Objections Limited to Identity of Successful
    Bidder and to any Deviations from the Terms
    of the Stalking Horse Purchase Agreement (as
    modified by Debtors' Statement Responding              March 10 2022 at noon (ET)
    to this Court's Inquiries Regarding the
    Debtors' Motion to Approve Bidding
    Procedures, dated January 28, 2022 [Docket
    No. 90] (the "Debtors' Statement"))
                                                           March 11 2022 at 11:59 p.m.
    Deadline for Replies in Support of Sale
                                                           (ET)
                                                           [**Subject to Court
    Sale Hearing                                           Availability**][March 14, 2022 at
                                                           [__:_0 _.m. (ET)
    Assumed date by which Sale Order is entered            March 14, 2022
                                                           March 15, 2022 at 5:00 p.m. (ET)
                                                           (or Such Later Date as
    Deadline for Closing of Successful Bid                 Reasonably Agreed by the
                                                           Debtors and the Successful
                                                           Bidder)


       All information (and bids) that must be provided under these Bidding Procedures
must be provided to the following parties (collectively, the “ Notice Parties”) (i) counsel to
the Debtors, Togut, Segal & Segal LLP, Kyle J. Ortiz, Esq. (kortiz@teamtogut.com) and
Eitan E. Blander, Esq. (eblander@teamtogut.com); (ii) counsel for the Stalking Horse
Bidders, White & Case LLP, Scott Greissman, Esq. (sgreissman@whitecase.com) and
Richard A. Graham, Esq. (rgraham@whitecase.com); (iii) counsel for JP Lease Products &
Services Co. Ltd., as the parent of the Debtors (“JP Lease”), Michael J. Edelman, Esq.
(MJEdelman@VedderPrcie.co) and Cameron Gee, Esq. (CGee@VedderPrice.com ; and, as
applicable, (iv) counsel for any statutory committee appointed in these Chapter 11 Cases


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(each, a “Committee”); and (iv) the Office of the United States Trustee for the Southern
District of New York, Region 2 (the “U.S. Trustee”).

      All dates and times set forth in these Bidding Procedures may be adjusted by the
Debtors with the consent of the Stalking Horse Bidders and after consultation with
counsel for any Committee.

III.   ASSETS TO BE SOLD

       All of the Purchased Assets shall be sold as a single lot (free and clear of all liens,
claims and encumbrances) and consist of, in summary, the following (in each case,
including the proceeds of such assets):

       (a)     The MSN 067 Purchased Assets, consisting (in summary) of following assets
               being sold by the MSN 067 Seller:

               (i)     The MSN 067 Aircraft and All Proceeds Thereof: one Airbus A350-
                       941 airframe with manufacturer’s serial number 067, along with (w)
                       its associated engines, (x) its auxiliary power units, (y) all appliances,
                       parts, instruments, appurtenances, accessories, furnishings, and
                       other equipment related to, incorporated in, installed in, attached to
                       or appurtenant to any of the foregoing (so long as title is vested in a
                       Seller), and (z) all records associated with or connected with the
                       foregoing (collectively, the “MSN 067 Aircraft”);

               (ii)    The MSN 067 Head Lease and Related Assets: all of the Debtors’
                       rights, title, claims and interests present and future, actual or
                       contingent, liquidated or unliquidated, in, to and under that certain
                       aircraft lease agreement, dated November 19, 2018 (as amended
                       from time to time), between the MSN 067 Seller, as lessor, and JLPS
                       Leasing Draco Limited (formerly known as DAE Leasing (Ireland) 12
                       Limited) (the “MSN 067 Lessee”), as lessee, and in, to and under all
                       associated operative documents related thereto;

               (iii)   The MSN 067 Sublease Collateral: all of the Debtors’ rights, title,
                       claims and interests present and future, actual or contingent,
                       liquidated or unliquidated, in, to and under that certain Aircraft Lease
                       Agreement, dated December 4, 2016 (as amended from time to time,
                       the “MSN 067 Sublease”), between MSN 067 Lessee, as sub-lessor,
                       and Vietnam Airlines JSC (“Vietnam Airlines”), as sublessee, along
                       with all other “Assigned Property” as defined under the Deed of
                       Security Assignment in respect of the MSN 067 Aircraft, dated

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                       November 21, 2018 (the “MSN 067 Sublease Security Assignment ”),
                       between MSN 067 Lessee, as assignor, and MSN 067 Seller, as
                       assignee (collectively, the MSN 067 Sublease and such Assigned
                       Property, the “MSN 067 Sublease Collateral”), all of which MSN 067
                       Sublease Collateral was collaterally assigned to and for the benefit of
                       the MSN 067 Seller;

      (b)      The MSN 173 Purchased Assets, consisting (in summary) of the following:

               (i)     The MSN 173 Aircraft and All Proceeds Thereof: one Airbus A350-
                       941 airframe with manufacturer’s serial number 173, along (w) its
                       associated engines, (x) its auxiliary power units, (y) all appliances,
                       parts, instruments, appurtenances, accessories, furnishings and other
                       equipment related to, incorporated in, installed in, attached to or
                       appurtenant to any of the foregoing (so long as title is vested in a
                       Seller) and (z) and all records associated with or connected the
                       foregoing (collectively, the “MSN 173 Aircraft”, and along with the
                       MSN 067 Aircraft, the “Aircraft”);

               (ii)    The MSN 173 Head Lease and Related Assets: all of the Debtors’
                       rights, title, claims and interests present and future, actual or
                       contingent, liquidated or unliquidated, in, to and under that certain
                       aircraft lease agreement, dated December 29, 2017 (as amended
                       from time to time), between the MSN 173 Seller, as lessor, and JLPS
                       Leasing Uranus Limited (formerly known as PAAL Uranus Company
                       Limited) (the “MSN 173 Lessee”, and along with the MSN 067 Lessee,
                       the “Lessees”), as lessee, and in, to and under all associated operative
                       documents related thereto;

               (iii)   The MSN 173 Sublease Collateral: all of the Debtors’ rights, title,
                       claims and interests present and future, actual or contingent,
                       liquidated or unliquidated, in, to and under that certain Aircraft Lease
                       Agreement, dated August 1, 2017 (as amended from time to time,
                       the “MSN 173 Sublease”), between MSN 173 Lessee, as sub-lessor,
                       and Vietnam Airlines, as sublessee, along with all other “Assigned
                       Property” as defined under the Deed of Security Assignment in
                       respect of the MSN 173 Aircraft, dated December 29, 2017 (the “ MSN
                       173 Sublease Security Assignment”), between MSN 173 Lessee, as
                       assignor, and MSN 173 Seller, as assignee (collectively, the MSN 173
                       Sublease and such Assigned Property, the “MSN 173 Sublease
                       Collateral”, and along with the MSN 067 Sublease Collateral, the

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                          “Sublease Collateral”), all of which MSN 173 Sublease Collateral was
                          collaterally assigned to and for the benefit of the MSN 067 Seller;

          (c)     all of the Debtors’ rights as indemnitee against Vietnam Airlines; and

          (d)     all of the other Collateral granted by any of the Debtors under the Security
                  Documents (as defined under the Proceeds Agreements).

The Purchased Assets shall not include any of the Excluded Assets. “ Excluded Assets” are
defined as the following: (x) all claims and causes of action of the Debtors arising under
Bankruptcy Code §§ 544 through 553 (for the avoidance of doubt, contractual claims
under non-bankruptcy law are Purchased Assets rather than Excluded Assets); (y) all claims
of the Debtors against any current or former lender, facility agent or security agent under
the secured loan facilities of either of the Debtors, except to the extent any such claims
create or result in any direct or indirect liability against the Stalking Horse Bidders or their
affiliates; and (z) any other assets of the Debtors designated by the Stalking Horse Bidders.

IV.       STALKING HORSE BID
                          The Stalking Horse Bidders have submitted a Base Purchase Price for
                          the Purchased Assets in an amount equal to the Senior Secured
                          Obligations and the Junior Secured Obligations (each as defined in
                          the Proceeds Agreements)5 and an Additional Cash Payment of
                          $5,000,000.00. The Debtors estimate that the total Base Purchase
                          Price equaled $207,741,763.53 as of the Petition Date. The Debtors
                          have requested an accounting from the Secured Creditors and will
                          consult with the Secured Creditors in good faith concerning the
                          outstanding Senior Secured Obligations and Junior Secured
                          Obligations that are expected to be payable on the Closing Date. Any
                          disputes in connection with the Base Purchase Price that the parties
                          are unable to resolve may be resolved by the Court prior to the Sale
                          Hearing. The Debtors will provide Potential Bidders a breakdown of


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      The “Proceeds Agreements” are defined as, collectively: (i) with respect to matters relating to the
      MSN 067 Aircraft, the Proceeds Agreement, dated November 6, 2018 (along with exhibits, schedules
      and as appendices thereto and as modified and in effect from time to time), originally between,
      among others, the MSN 067 Seller, as borrower, and Crédit Agricole Corporate and Investment Bank,
      as security agent (the “MSN 067 Proceeds Agreement”), and (ii) with respect to matters relating to the
      MSN 173 Aircraft, the Proceeds Agreement, dated December, 22 2017 (along with exhibits, schedules
      and as appendices thereto and as modified and in effect from time to time), originally between,
      among others, the MSN 173 Seller, as borrower, and Crédit Agricole Corporate and Investment Bank,
      as security agent (the “MSN 173 Proceeds Agreement”).


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                         the amounts for each element of the Base Purchase Price at least one
                         week prior to the Bid Deadline (as defined herein). 6

The Stalking Horse Bidders’ Base Purchase Price is subject to being beaten by higher
and/or better bids being offered under the terms of these Bidding Procedures.
V.       STALKING HORSE BIDDERS’ PROTECTIONS

        In the event the Debtors do not consummate the sale of the Purchased Assets to
the Stalking Horse Bidders (or as otherwise set forth in the Stalking Horse Purchase
Agreement), the Debtors shall pay the Stalking Horse Bidders the Break-Up Fee (as
defined in the Stalking Horse Purchase Agreement), i.e. an amount equal to 3.5% of the
Base Purchase Price, by wire transfer to an account designated by the Stalking Horse
Bidders from the proceeds (including any deposit or Deposit) of sale of the Purchased
Assets or any part thereof (regardless of when it may occur, whether or not as part of
these Bidding Procedures or these Chapter 11 Cases), or any debtor in possession or other
financing. The Debtors shall also pay the Stalking Horse Bidders the Expense
Reimbursement (as defined in the Stalking Horse Purchase Agreement) by wire transfer
to an account designated by the Stalking Horse Bidders from the proceeds of sale
(including any deposit or Deposit) of the Purchased Assets or any part thereof (regardless
of when it may occur, whether or not as part of these Bidding Procedures or these Chapter
11 Cases), or any debtor in possession financing or other financing, which generally
consists of reimbursement of all reasonable and documented attorneys’ fees and other
costs and expenses of the Stalking Horse Bidders actually incurred in connection with or
related to the Stalking Horse Bidder’s efforts to negotiate and consummate the
transactions contemplated by the Stalking Horse Purchase Agreement (including, without
limitation, the fees and expenses of counsel), provided, however, that such reimbursement
shall be capped at $1,500,000.

        The Break-Up Fee and Expense Reimbursement shall be due and payable upon
(i) the consummation of the sale to an alternative bidder that the Bankruptcy Court
determined submitted the highest and/or best offer for the Purchased Assets (or any part
thereof), or of a similar non-bankruptcy transaction, (ii) the consummation of a debtor-
in-possession or other financing sufficient to (y) cover the Base Purchase Price and (z) pay
the Expense Reimbursement and the Break-Up Fee to the Buyer, or (iii) the Debtors
breaching their obligations under the Stalking Horse Purchase Agreement, including,
without limitation, (A) by withdrawing from the Transaction (as defined in the Stalking

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     The Base Purchase Price includes the outstanding balances on the Senior Loans and Junior Loans as of
     December and October 2021, respectively, but the final number will include additional interest
     incurred through the Closing Date and certain reasonable fees that may be required under the
     Security Documents to ensure that the Senior Loans and Junior Loans are fully satisfied.


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Horse Purchase Agreement) (other than being under the circumstances set forth in clause
(ii) (sufficient refinancing obtained)), (B) by failing to meet their time of the essence
obligations under the Stalking Horse Purchase Agreement, it being understood that the
timing provisions of these Bidding Procedures shall constitute an agreement by the
Debtors and the Stalking Horse Bidders of the dates provided for herein,; or (C) changes
having been made to the Bidding Procedures or other terms agreed by the Parties as part
of the Bidding Procedures Order, except for changes agreed upon in writing by the Buyer
(which consent shall not be unreasonably withheld). [DSJ 2/7/2022]

      VI.      DUE DILIGENCE

        The Debtors have posted copies of all material documents related to the Purchased
Assets to a confidential electronic data room (the “ Data Room”). To access the Data
Room, an interested party other than the Stalking Horse Bidders and JP Lease (each of
whom shall have access to the Data Room) must submit to the Debtors or their advisors
the following:

      (A)      an executed confidentiality agreement in form and substance reasonably
               satisfactory to the Debtors (unless such party is already a party to an existing
               confidentiality agreement with the Debtors that is acceptable to the Debtors
               for this due diligence process, in which case such agreement shall govern);
               and

      (B)      sufficient information, as reasonably determined by the Debtors, to allow
               the Debtors to determine that the interested party has the financial
               wherewithal to consummate a sale transaction based upon a minimum
               Qualified Bid (as defined herein).

An interested party that meets the above requirements to the satisfaction of the Debtors
shall be a “Potential Bidder.” As soon as practicable, the Debtors will provide such
Potential Bidder access to the Data Room; provided, that such access may be terminated
by the Debtors in their reasonable discretion at any time, including if a Potential Bidder
does not become a Qualified Bidder or these Bidding Procedures are terminated.
Each Potential Bidder shall comply with all reasonable requests for information and due
diligence access by the Debtors or their advisors regarding the ability of such Potential
Bidder to consummate a sale transaction.

Until the Bid Deadline, the Debtors will provide any Potential Bidder with reasonable
access to the Data Room and any additional information requested by Potential Bidders
that the Debtors believe to be reasonable and appropriate under the circumstances. All
additional due diligence requests shall be directed to the Debtors’ advisors, Togut, Segal

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& Segal LLP, Kyle J. Ortiz, Esq. (kortiz@teamtogut.com) and Eitan E. Blander, Esq.
(eblander@teamtogut.com), and any additional information provided shall be made
immediately available to all Potential Bidders, the Stalking Horse Bidders and JP Lease in
the Data Room. Unless prohibited by law or otherwise determined by the Debtors, the
availability of additional due diligence to a Potential Bidder will cease if (a) the Potential
Bidder does not become a Qualified Bidder or (b) these Bidding Procedures are
terminated.

       Neither the Debtors nor any of their representatives shall be obligated to furnish
any information of any kind whatsoever relating to the Debtors’ assets (a) to any person
or entity who (i) is not a Potential Bidder; (ii) does not comply with the participation
requirements set forth above; (iii) in the case of competitively sensitive information, is a
competitor of the Debtors; or (iv) as otherwise ordered by the Bankruptcy Court; and (b) to
the extent not permitted by law.

VII.   AUCTION QUALIFICATION PROCEDURES

       A.      Bid Deadline

        A Potential Bidder that desires to make a bid (a “ Bid”) on all of the Purchased Assets
shall deliver electronic copies of the Bid (in both Portable Document Format (.pdf) and
Microsoft Word (.doc/.docx) format) so as to be received no later than March 7, 2022 at
noon (ET) (the “Bid Deadline”); provided that the Debtors may extend the Bid Deadline
without further order of the Bankruptcy Court subject to providing notice to all Potential
Bidders, the Stalking Horse Bidders and JP Lease; provided further that the Debtors
comply with the terms of the Stalking Horse Purchase Agreement; and the other
requirements of these Bidding Procedures. The submission of a Bid by the Bid Deadline
shall constitute a binding and irrevocable offer to acquire the Purchased Assets. Any party
that does not submit a Bid by the Bid Deadline will not be allowed to (i) submit any offer
after the Bid Deadline or (ii) participate in the Auction. Bids must be submitted by email
to the following:

                                   Counsel for the Debtors
                                 kortiz@teamtogut.com; and
                                  eblander@teamtogut.com;

                          Counsel for the Stalking Horse Bidders
                              sgreissman@whitecase.com;
                           and rgraham@whitecase.com; and

                                    Counsel for JP Lease


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                            MJEdelman@VedderPrice.com; and
                                CGee@VedderPrice.com


      B.       Form and Content of Bids

       A Bid must contain a signed document from a Potential Bidder received by the Bid
Deadline that identifies the purchaser by its legal name and any other party that will be
participating in connection with the Bid or the sale transaction, and includes, at a
minimum, the following:

      (i)      Finalized Sale Documents. Each Bid must include an express agreement that
               the purchase of the Purchased Assets shall be solely subject to the same
               conditions as set forth in Section 4 of the Staling Horse Term Sheet and an
               executed and marked-up version of the Stalking Horse Purchase
               Agreement, together with a Word version thereof.

      (ii)     Purchase Price; Minimum Bid. Each Bid submitted must purchase all of the
               Purchased Assets and must specify the purchase price, which purchase price
               must include a cash component that equals or is in excess of the sum of the
               following amounts (collectively, the “Minimum Bid”): (a) the Base Purchase
               Price plus (b) the Minimum Overbid Amount plus (c) the Break-Up Fee plus
               (d) the Expense Reimbursement. The Bid must also either (y) allocate the
               Purchase Price (other than the component consisting of Base Purchase Price
               (excluding the Additional Cash Payment), which shall be allocated and
               distributed to fully satisfy the Secured Obligations as a condition to closing),
               contained in such Bid between the MSN 067 Purchased Assets and the MSN
               173 Purchased Assets or (z) grant the Debtors the discretion to allocate such
               Purchase Price between the MSN 067 Purchased Assets and the MSN 173
               Purchased Assets in any manner as determined by the Debtors in their
               discretion.

      (iii)    Unconditional Offer. A commitment that the Bid is formal, binding, and
               unconditional (except for those conditions expressly set forth in Clause (i)
               above), is not subject to any due diligence or financing contingency, and is
               irrevocable until the Debtors notify the Potential Bidder that such Bid is not
               a Successful Bid or a Back-Up Bid.

      (iv)     Form of Consideration. Except with respect to (a) the Stalking Horse Bid (as
               defined herein) and (b) any permitted credit bidding, a confirmation that
               the Bid is exclusively for cash in U.S. Dollars at least equal to the Minimum
               Bid.

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      (v)      Proof of Financial Ability to Perform. Each Bid must contain such financial
               and other information that allows the Debtors to make a reasonable
               determination as to the Potential Bidder’s financial and other capabilities to
               consummate the sale transaction, including, without limitation, such
               financial and other information setting forth adequate assurance of future
               performance in satisfaction of the requirements under section 365 of the
               Bankruptcy Code, and the Potential Bidder’s willingness to perform under
               any contracts that are assumed and assigned to such party. Without limiting
               the foregoing, such information must include current financial statements
               or similar financial information certified to be true and correct as of the date
               thereof, proof of financing commitments (if needed) to close the sale
               transaction, contact information for verification of such information,
               including any financing sources, and any other information reasonably
               requested by the Debtors necessary to demonstrate that such Potential
               Bidder has the ability to close the sale transaction either by all cash funding
               without any contingency (or by financing commitment evidenced as set
               forth below).

      (vi)     Required Approvals. A statement or evidence (a) that the Potential Bidder
               has made or will make in a timely manner all necessary filings under any
               applicable law as may be needed to give effect to the sale transactions
               contemplated by the Bid and pay the fees associated with such filings and
               (b) of the Potential Bidder’s plan and ability to obtain all requisite
               governmental, regulatory, or other third-party approvals and the proposed
               timing for the Potential Bidder to undertake the actions required to obtain
               such approvals. A Potential Bidder further agrees that its legal counsel will
               coordinate in good faith with Debtors’ legal counsel to discuss and explain
               such Potential Bidder’s regulatory analysis, strategy, and timeline for
               securing all such approvals as soon as reasonably practicable, and in no
               event later than the time period contemplated in the Stalking Horse
               Purchase Agreement.

      (vii)    No Entitlement to Break-Up Fee, Expense Reimbursement, or Other
               Amounts. A statement that the Bid does not entitle the Potential Bidder to
               any break-up fee, termination fee, expense reimbursement or similar type
               of payment or reimbursement, and a waiver of any substantial contribution
               administrative expense claims under section 503(b) of the Bankruptcy Code
               related to the bidding process.

      (viii)   Agreement to Terms of the Bidding Procedures. A statement that the
               Potential Bidder agrees to be bound by these Bidding Procedures.

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       A Potential Bidder must also accompany its Bid with:

       (i)     Deposit. A Deposit (as defined herein);

       (ii)    Contact Information. The contact information of the specific person(s)
               whom the Debtors or their advisors should contact in the event that the
               Debtors have any questions or wish to discuss the Bid submitted by the
               Potential Bidder;

       (iii)   Evidence of Financial Wherewithal. Written evidence of available cash
               without contingency, executed commitment papers for financing (not
               subject to any conditions), and such other evidence of ability to
               consummate the transaction contemplated by the Bid and compliance with
               the Bidding Procedures Order, the Bidding Procedures and the Sale Order,
               in each case, as determined by the Debtors in their business judgment;

       (iv)    Identity of Bidders; Purchase Participants. The identity of each entity that
               will be participating in connection with such Bid and taking ownership of
               the assets (including any equity owners or sponsors, if the Potential Bidder
               is an entity formed for the purpose of consummating the sale transaction)
               and a copy of a board resolution or similar document demonstrating the
               authority of the Potential Bidder to make a binding and irrevocable bid on
               the terms proposed and to consummate the transaction contemplated by
               the Bid;

       (v)     Covenant to Cooperate. A covenant to cooperate with the Debtors to
               provide pertinent factual information regarding the Potential Bidder’s
               operations reasonably required to analyze issues arising with respect to any
               applicable antitrust laws and other applicable regulatory requirements; and

       (vi)    Agreement to Terms of the Bidding Procedures. A statement that the
               Potential Bidder who submits a Bid agrees to be bound by these Bidding
               Procedures.

       C.      Review Of Bids; Designation of Qualified Bids

       The Debtors will evaluate Bids that are timely submitted and may engage in
negotiations with Potential Bidders who submitted Bids as the Debtors deem appropriate
in the exercise of their business judgment, based upon the Debtors’ evaluation of the
content of each Bid and determination as to whether such Bid provides greater
consideration than the Sales Transactions. The Debtors will provide a copy of each Bid
received within one (1) day of receipt thereof to the Stalking Horse Bidders, JP Lease and,


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as applicable, the Committee. The Stalking Horse Bidders are Qualified Bidders and the
Sale Transactions represent a Qualified Bid (in such context, the “ Stalking Horse Bid”).

        The Debtors shall determine, in their reasonable judgment, which of the Bids
received by the Bid Deadline meets the requirements set forth above and thus qualifies
as a “Qualified Bid” (each Potential Bidder that submits such a Qualified Bid being a
“Qualified Bidder”) and shall notify each Qualified Bidder of its status as a Qualified Bidder
by no later than March 7, 2022 at 6:00 p.m. (ET) (the “Qualified Bid Deadline”). The Debtors
shall provide copies of such notice and any Qualified Bid to the Stalking Horse Bidders, JP
Lease and, as applicable, the Committee by no later than March 7, 2022 at 6:00 p.m. (ET).
If the Debtors in their reasonable business judgment determine that a person or entity
has acted in bad faith in connection with any of the Sellers, the Debtors may bar such
person or entity from being considered as a Qualified Bidder.

       Without the written consent of the Debtors, a Qualified Bidder may not modify,
amend, or withdraw its Qualified Bid, except for proposed amendments to increase the
purchase price or otherwise improve the terms of the Qualified Bid for the Debtors during
the period that such Qualified Bid remains binding as specified herein; provided, that any
Qualified Bid may be improved at the Auction as set forth in these Bidding Procedures.
The Debtors reserve the right to work with any Potential Bidder in advance of the Auction
to cure any deficiencies in a Bid that is not initially deemed a Qualified Bid and to clarify
or otherwise improve such Bid.

       D.      Failure to Receive Qualified Bids

       If no Qualified Bid other than the Stalking Horse Bid is received by the Bid Deadline,
the Debtors will not conduct the Auction and shall file a notice with the Bankruptcy Court
by March 7, 2022 at 6:00 p.m. (ET) indicating that the Auction has been cancelled. If no
Qualified Bid is received, the Stalking Horse Bidders shall be deemed the Successful Bidder
and the Stalking Horse Bid shall be deemed the Successful Bid.

       The Debtors shall promptly notify the Stalking Horse Bidders and JP Lease if no
Qualified Bid other than the Stalking Horse Bid is received by the Bid Deadline.

       E.      Deposit

      Except to the extent modified with respect to a Bid that contains a credit bid
permitted under these Bidding Procedures, a Bid must be accompanied by a good faith
cash deposit in the amount of ten percent (10%) of the purchase price (a “ Deposit”). A
Deposit must be deposited prior to the Bid Deadline with an escrow agent selected by
the Debtors (the “Escrow Agent”) pursuant to an escrow agreement to be provided by the
Debtors. To the extent a Qualified Bid is modified before, during, or after the Auction, the

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Debtors reserve the right to require that such Qualified Bidder adjust its Deposit so that
it equals ten percent (10%) of the cash purchase price. The requirements set forth in this
“Deposit” section do not apply with respect to the Stalking Horse Bidders. Other than the
Debtors and Stalking Horse Bidders (to the extent of their Bid Protections), no person or
entity shall have any rights or interests in any Deposit.

VIII.   CREDIT BIDDING

       To the extent that any Potential Bidders reasonably believes that it is entitled to
submit a credit bid under Section 363(k) of the Bankruptcy Code for any portion of the of
the purchase price that is included in its Bid, such Potential Bidder must also comply with
these terms and procedures.

        A.      PROCEDURES AND DEADLINES FOR POTENTIAL BIDDERS SEEKING TO ASSERT A CREDIT
                BID AS A PORTION OF ITS BID

       In addition to the requirements set forth in the Form and Content of Bids
provision above, any Potential Bidder that seeks to asset a credit bid as a portion of its
offered purchase price must comply with these additional requirements in a submission
filed with the Bankruptcy Court in the Chapter 11 Cases on or before February 10, 2021
at 4:00 p.m. (ET):

        (i)     Statement of Basis for Assertion of Credit Bidding Rights. A statement
                detailing the contracts and security interests giving rise to any alleged credit
                bidding rights that are recognized under Section 363(k) of the Bankruptcy
                Code (such asserted rights, the “Credit Bidding Rights”), including, without
                limitation, (a) the contracts, agreements and security agreements and
                instruments giving rise to such rights, (b) a description of the collateral
                subject to such Credit Bidding Rights and the extent to which the Purchased
                Assets constitute such collateral, and (c) the specific contractual provisions
                under which such Potential Bidder asserts Credit Bidding Rights, including,
                without limitation, any contractual provisions permitting an agent, trustee
                or representative to assert such Credit Bidding Rights on behalf of other
                parties.

        (ii)    Statement about Amount of Credit Bid. The amount the Potential Bidder
                asserts as its credit bid, including the total amount of such credit bid, and
                the amount of the credit bid against each of (a) the MSN 067 Purchased
                Assets and (b) the MSN 173 Purchased Assets.

        (iii)   Additional Disclosures If Credit Bidding Being Asserted by Security Agent,
                Security Trustee or Other Agent on Behalf of Lenders. If the asserted right

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               to credit bid is being asserted by a security trustee, a security agent or any
               other entity that is asserting such right in a representative capacity on behalf
               of entities holding the actual and/or beneficial ownership interests in the
               loans or other obligations owed by either of the Debtors (such lenders or
               other creditors holding the actual and/or beneficial ownership interests in
               the loans or other obligations owed by either or both of the Debtors the
               “Actual Lenders”), by providing a written statement setting forth the
               contractual or other basis for the Security Agent, other Agent or
               representative being able to assert such credit bid rights on behalf of the
               Actual Lenders.

       (iv)    Minimum Amount of Cash Portion of Bid. Any Bid asserted by a Potential
               Bidder who asserts Credit Biding Rights must contain a cash component as
               part of its Bid at least equal to the sum of the following (such sum, the
               “Minimum Cash Component”): (i) Minimum Overbid Amount plus (ii) the
               Break-Up Fee plus (iii) the Expense Reimbursement, plus (iv) the amount of
               the Additional Cash Payment; plus (v) the amount of any Secured
               Obligations that were not part of the credit bid component of the Bid.

       (v)     Modified Deposit Requirements for Potential Bidders Asserting Credit
               Bidding Rights. Subject to further order of the Bankruptcy Court ( i.e., in the
               event the Bankruptcy Court restricts or limits such Potential Bidder’s credit
               bidding rights), the Deposit for an entity asserting credit bid rights shall be
               equal to the greater of (a) ten percent (10%) of the cash portion of the Bid
               and (b) the Minimum Cash Component.

       B.      Deadline for Objections and Replies Regarding Such Credit Bidding Rights

        The Debtors, the Stalking Horse Bidders and any other parties in interest in the
Chapter 11 Cases may file an objection on or before the Credit Bidding Objection Deadline
to a Potential Bidder seeking to utilize Credit Bidding Rights on the basis that “cause”
exists within the meaning of Section 363(k) of the Bankruptcy Code to prohibit, limit or
restrict such Credit Bidding Rights. If any such objections are filed, the Potential Bidder
asserting such Credit Bidding Rights may file a response in support of such Credit Bidding
Rights on or before the Credit Bidding Response Deadline. The party objecting to the
assertion of Credit Bidding Rights may file a reply in support of its objections on or before
the Credit Bidding Reply Deadline.

IX.    Auction Procedures for Qualified Bids

       A.      AUCTION TO BE HELD WHERE THERE ARE TWO OR MORE QUALIFIED BIDDERS AS OF THE
               BID DEADLINE

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        If more than one Qualified Bid is received by the Bid Deadline, the Debtors will
conduct the Auction. The Auction will take place at 10:00 a.m. (ET) on March 8, 2022 (such
date, or such other date allowed under these Bidding Procedures as the Debtors may
notify any Qualified Bidders who have submitted Qualified Bids, counsel for JP Lease and,
as applicable, counsel for any Committee, the "Auction Date") and be held virtually
pursuant to a Zoom link to be provided to Qualified Bidders, counsel for JP Lease and, as
applicable, counsel for any Committee prior to the start of the Auction. Only a Qualified
Bidder that has submitted a Qualified Bid (including the Stalking Horse Bidders) will be
eligible to participate at the Auction, subject to such limitations as the Debtors may
impose in good faith. A reasonable number of representatives of the professional
advisors and members of any Committee will be permitted to attend and observe the
Auction. Each Qualified Bidder shall be required to confirm, both before and after the
Auction, that it has not engaged in any collusion with respect to the submission of any
bid, the bidding, or the Auction. The Debtors may, in the exercise of their business
judgment, adjourn the Auction.

       B.      “AS IS, WHERE IS” SALE

        Any Sale Transaction will be on an “as is, where is” basis and without
representations or warranties of any kind by the Debtors, their agent or the Debtors’
chapter 11 estates, except and solely to the extent expressly set forth in the final purchase
agreement approved by the Bankruptcy Court. Each Qualified Bidder will be required to
acknowledge and represent that it has had an opportunity to conduct any and all due
diligence regarding the Purchased Assets that are the subject of the Auction prior to
making its bid and that it has relied solely upon its own independent review and
investigation in making its bid. Except as otherwise provided in the final purchase
agreement approved by the Bankruptcy Court, all of the Debtors’ rights, title and interests
in the Purchased Assets will be sold free and clear of liens, claims, interests and
encumbrances (other than those liens, claims and encumbrances permitted to survive
under the terms of the Stalking Horse Purchase Agreement) as proposed in the Sale Order
(collectively, “Liens”), with any Liens to attach to the proceeds of the sale transaction,
which shall be first applied to satisfy the Secured Obligations in cash in full, all as provided
in the Sale Order.

       C.      CONDUCT OF AUCTION; MINIMUM OVERBID

       If the Debtors receive two or more Qualified Bids (including the Stalking Horse Bid),
bidding for the Purchased Assets will start with the highest purchase price, or, to the
extent highest purchase prices are equal, the best terms from among the Qualified Bids
with the highest purchase prices timely received by the Debtors (as selected in the
Debtors’ reasonable discretion) and will proceed thereafter in minimum cash bid


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increments of not less than $500,000 (a “Minimum Overbid Amount”), except that the
Stalking Horse Bidders may utilize the Break-Up Fee and the Expense Reimbursement as
part of any subsequent bid made by them, which Break-Up Fee and Expense
Reimbursement will be treated as equal to the cash dollar amount of the Break-Up Fee
for purposes of evaluating their subsequent bid and may be applied as if it were cash if
such subsequent bid by the Stalking Horse Bidders is the Successful Bid. (A subsequent
bid by the Stalking Horse Bidders will not constitute a waiver of the Break-Up Fee or
Expense Reimbursement.) The minimum Qualified Bid (and all bids received thereafter)
also must meet the minimum bid requirements, including being equal to or in excess of
the Minimum Bid, and the other terms specified above. With the consent of the Stalking
Horse Bidders, the Debtors may increase or decrease the Minimum Overbid Amount at
any time during the Auction. For the avoidance of doubt, any Minimum Bid must provide
for at least $500,000 of incremental cash consideration to the Debtors after taking into
account the payment of the Break-Up Fee and Expense Reimbursement to the Stalking
Horse Bidders, satisfaction in full in cash of the Secured Obligations (as defined in the
Stalking Horse Purchase Agreement), in each case from the sale proceeds and as closing
conditions, and the Additional Cash Payment (as defined in the Stalking Horse Purchase
Agreement).

        The Debtors, with the consent of the Stalking Horse Bidders, may adopt rules for
the Auction consistent with these Bidding Procedures and the Bidding Procedures Order
that the Debtors reasonably determine to be appropriate to promote a competitive
auction; provided that, with respect to the Stalking Horse Bidders and the Stalking Horse
Purchase Agreement, the terms of the Stalking Horse Purchase Agreement (as may be
consensually modified at any Auction) and not the terms of this paragraph shall control.
Any such rules developed by the Debtors will provide that all bids in the Auction will be
made and received on an open basis, and all other bidders participating in the Auction
will be entitled to be present (via the Zoom auction procedures) for all bidding with the
understanding that the true identity of each bidder placing a bid at the Auction will be
fully disclosed to all other bidders participating in the Auction and that all material terms
of each Qualified Bid submitted in response to any successive bids made at the Auction
will be disclosed to all other bidders, the Stalking Horse Bidders, the Debtors, JP Lease
and, as applicable, any Committee. Each Qualified Bidder will be permitted what the
Debtors reasonably determine to be an appropriate amount of time to respond to the
previous bid at the Auction. The Auction shall be conducted openly and transcribed or
recorded, and the Qualified Bidders observing the Auction will be informed of the material
terms of the previous bid.

      Prior to the conclusion of the Auction, the Debtors shall (i) review each Qualified
Bid on the basis of the amount of cash, contractual terms, the speed and certainty of
consummating a sale transaction, and any other relevant factor, (ii) whether any Qualified

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Bid complies with the timing requirements and other terms provided for under the
Stalking Horse Purchase Agreement, (iv) any other factors the Debtors may deem relevant,
and (v) identify the highest or otherwise best Qualified Bid for the Purchased Assets (the
“Successful Bid” and the bidder making such bid, the “Successful Bidder”). The Debtors
shall also identify a Qualified Bidder that submitted the next highest or otherwise best
Qualified Bid (the “Back-Up Bid” and the bidder making such bid, a “Back-Up Bidder”). A
Back-Up Bid shall remain open and irrevocable until the earliest to occur of (i) the
applicable outside date for consummation of the sale transaction (which, for these
purposes in the case of the Stalking Horse Bid shall be deemed to be February 28, 2022),
(ii) consummation of the sale transaction with a Successful Bidder, and (iii) the release of
such bid by the Debtors in writing (such date, the “ Back-Up Bid Expiration Date”). The
Debtors shall file the results of the Auction with the Bankruptcy Court in the Chapter 11
Cases, including (i) the identity of the Successful Bidder, (ii) the amount and other material
terms of the Successful Bid, and (iii) the identity of the Back-Up Bidder. Absent
irregularities in the conduct of the Auction or reasonable and material confusion during
the bidding, each as determined by the Bankruptcy Court, the Debtors will not consider
bids made after the Auction has been closed. In the event the Stalking Horse Bid is the
only Qualified Bid received by the Debtors by the Bid Deadline, no Auction will be
conducted, and Stalking Horse Bidders will be the Successful Bidder. At the Sale Hearing,
the Debtors will present the Successful Bid to the Bankruptcy Court for approval.

       The Closing with any Successful Bidder shall occur within the time requirements
provided under the Stalking Horse Purchase Agreement. A Successful Bid may not be
assigned to any other person or entity without the consent of the Debtors. If a sale
transaction with a Successful Bidder is terminated (and does not close) prior to the Back-
Up Bid Expiration Date, the Back-Up Bidder shall be deemed a Successful Bidder and shall
be obligated to consummate the Back-Up Bid as if it were the Successful Bid.

         At any time before entry of an order approving the applicable sale transaction
envisioned by a Qualified Bid, the Debtors reserve the right to and may reject such
Qualified Bid if such Qualified Bid, in the Debtors’ judgment, is: (i) inadequate or
insufficient; (ii) not in conformity with the requirements of the Bankruptcy Code, these
Bidding Procedures, or the terms and conditions of the applicable sale transaction; or
(iii) contrary to the best interests of the Debtors and their estates. No attempt by the
Debtors to reject a Qualified Bid under this paragraph will modify any rights of the Debtors
or the Stalking Horse Bidders under the Stalking Horse Purchase Agreement (as may be
consensually modified in writing by the Debtors and Stalking Horse Bidders at the
Auction).

      In the event that the Sale Order has not been stayed, vacated, amended, reversed
or modified, the Closing of the sale transactions shall occur as soon as practicable after

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the entry of the Sale Order and in any event by March 15, 2022 (or such later date as
agreed by the Parties, which agreement shall not be unreasonably withheld).

       D.      Supplementation of Bidding Procedures

      With the consent of the Stalking Horse Bidders, the Debtors may supplement these
Bidding Procedures with any terms or procedures in a manner that enhances the auction
processes and/or clarifies any matters not currently delineated herein.

       E.      Return of Good Faith Deposit

       The Good Faith Deposits of all Qualified Bidders (except the Stalking Horse Bidder)
will be held in escrow by the Escrow Agent and while held in escrow will not become
property of the Debtors’ bankruptcy estates unless released to the Debtors from escrow
pursuant to terms of the applicable escrow agreement or pursuant to further order of the
Bankruptcy Court. The Escrow Agent will retain the Good Faith Deposits of the Successful
Bidder until the closing of the sale transactions in respect of such Successful Bid unless
otherwise ordered by the Bankruptcy Court. The Good Faith Deposits of the Qualified
Bidders other than the Successful Bidder will be returned within two Business Days of the
Sale Closing Date. At the closing of the sale transactions contemplated by the Successful
Bid, the Successful Bidder will be entitled to a credit for the amount of its Good Faith
Deposit. Upon the return of the Good Faith Deposits, their respective owners will receive
any and all interest that has accrued thereon.

       F.      Consultation Matters

         If a Committee is appointed, in the event that any member of the Committee or an
affiliate thereof submits a Qualified Bid, the Committee’s professional advisor must
exclude such member from any discussions or deliberations between the Committee’s
professional advisors and the Committee regarding the sale of the Purchased Assets and
must not provide any information regarding the sale transactions to such member, and
any obligation of the Debtors hereunder or otherwise to consult with the affected party
will be without further action waived, discharged and released.

      G.     Auction Constitutes a Foreclosure Sale and Enforcement Action Under
Applicable Law

        Subject to the terms of these Bidding Procedures, including, without limitation,
(i) the higher and better auction terms provided for herein, and (ii) the terms set forth in
Section V (Stalking Horse Bidders' Protections) hereof, the Auction and the Sale
Transactions constitute Enforcement Actions of the Debtors' direct and/or beneficial
Interests in the Purchased Assets in accordance with, and subject to the rights and benefits


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conferred under applicable law, including, without limitation, under the Bankruptcy Code,
Article 9 of the UCC and the Cape Town Convention (each as defined in the Proceeds
Agreements).




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                         EXHIBIT 2
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    Proposed Counsel to the Debtors
    and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                   Chapter 11

JPA NO. 111 CO., LTD. and                                Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                         (Jointly Administered)
                                      1
                          Debtors.


                      NOTICE OF PROPOSED SALE OF PURCHASED ASSETS

              JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd, as debtors and debtors in
possession (the “Debtors”) in the above-captioned cases (the “Chapter 11 Cases”), are
seeking to sell substantially all of the Debtors’ assets (together, and as more particularly
described in the Stalking Horse Purchase Agreement (as defined below), the “Purchased
Assets”), pursuant to a motion, dated December 31, 2021 [Docket No. 21] (the “Bidding
Procedures and Sale Motion”).

              By order, dated [_____], [__] 2022 [Docket No. [__]] (the “Bidding Procedures
Order”), the United States Bankruptcy Court for the Southern District of New York (the
“Bankruptcy Court”) approved certain bidding and sale procedures for the Debtors’
proposed marketing and sale of the Purchased Assets.

               The Debtors have already negotiated a sale for the Purchased Assets, as
set forth in the stalking horse asset purchase agreement (the “Stalking Horse Purchase


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      The Debtors in these Chapter 11 Cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The
      Debtors’ corporate address is: Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki,
      Chiyoda-Ku, Tokyo 100-0013.
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Agreement”),2 a copy of which is attached as Exhibit D to the Notice of Filing of Exhibits
to the Debtors’ Application for Entry of Orders: (I)(A) Approving Bidding Procedures
Relating to the Sale of Substantially all of the Debtors’ Assets; (B) Establishing Stalking
Horse Bidders and Bid Protections; (C) Approving Procedures of the Assumption and
Assignment of Certain Executory Contracts and Unexpired Leases; (D) Authorizing
Enforcement Actions; (E) Scheduling an Auction and Sale Hearing; and (F) Approving
the Form and Manner of Notice Thereof; and (II)(A) Approving the Sale of the Purchased
Assets Free and Clear of all Liens, Claims, Interests, and Encumbrances; and (B) Granting
Related Relief [Docket No. 58] (the “Notice of Filing”), though the proposed sale set
forth therein is subject to higher and better offers pursuant to the auction process under
the Bidding Procedures Order. [DSJ 2/7/2022]

               By the Bidding Procedures and Sale Motion, the Debtors have also
requested the Bankruptcy Court enter an order, a copy of which is attached as Exhibit C
to the Notice of Filing (the “Proposed Sale Order”), which provides, among other things,
for the sale of the Purchased Assets free and clear of liens, claims, interests, and
encumbrances, to the extent permissible by law, to the successful bidder.

INTERESTED BIDDERS SHOULD CONTACT THE DEBTORS AT:

                                        JLPS Remarketing
                                      remarketing@jlps.co.jp

PLEASE TAKE NOTE OF THE FOLLOWING IMPORTANT DEADLINES:

       The deadline to submit a bid for the Purchased Assets is March 7, 2022 at 12:00
        p.m. noon (Eastern Time) (the “Bid Deadline”). The failure to abide by the
        procedures and deadlines set forth in the Bidding Procedures Order may result in
        the denial of your bid.

       An auction, if necessary, for the Purchased Assets has been scheduled for
        March 8, 2022 at 10:00 a.m. (Eastern Time) (the “Auction”). The Auction may be
        canceled without notice if the Stalking Horse Purchase Agreement is the only
        Qualified Bid (as defined in the Bidding Procedures Order) received by the
        Debtor.




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    Capitalized terms not otherwise defined herein have the meanings ascribed to such terms in the
    Stalking Horse Purchase Agreement.



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      The deadline to file an objection with the Bankruptcy Court to the proposed sale
       of the Purchased Assets is March 10, 2022 at 12:00 p.m. noon (Eastern Time) (the
       “Sale Objection Deadline”). Objections must be filed and served in accordance
       with the Bidding Procedures Order.

      The Bankruptcy Court will conduct a hearing to consider the proposed sale on
       March 14, 2022 at 11:00 a.m. (Eastern Time) (the “Sale Hearing”). The Sale
       Hearing may be adjourned or rescheduled without further notice by
       announcement at the Sale Hearing or by the filing of a notice or agenda on the
       docket of the Chapter 11 Case.

THE FAILURE OF ANY PERSON OR ENTITY TO FILE AND SERVE AN OBJECTION BY THE
SALE OBJECTION DEADLINE SHALL BE A BAR TO THE ASSERTION BY SUCH PERSON OR
ENTITY OF ANY OBJECTION TO THE BIDDING PROCEDURES AND SALE MOTION, THE
PROPOSED SALE ORDER, THE SALE, OR THE DEBTORS’ CONSUMMATION AND
PERFORMANCE OF THE STALKING HORSE PURCHASE AGREEMENT (INCLUDING,
WITHOUT LIMITATION, THE DEBTORS’ TRANSFER OF THE PURCHASED ASSETS, FREE
AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES AND OTHER INTERESTS).

              Copies of the Bidding Procedures and Sale Motion, the Bidding
Procedures Order, the Stalking Horse Purchase Agreement, the Proposed Sale Order,
and all other documents and pleadings referenced in this notice or pertaining to these
Chapter 11 Cases can be viewed and/or obtained (i) by accessing the Bankruptcy Court’s
website for a fee, or (ii) by contacting the Office of the Clerk of the Bankruptcy Court.
Please note that a PACER password is required to access documents on the Bankruptcy
Court’s website. [DSJ 2/7/2022]

Dated: New York, New York
       February 7, 2022                  JPA NO. 111 CO., LTD. and
                                         JPA NO. 49 CO., LTD.
                                         Debtors and Debtors in Possession
                                         By their Proposed Counsel
                                         TOGUT, SEGAL & SEGAL LLP
                                         By:
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